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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


IN RE: DAILY FANTASY SPORTS                          1:16-md-02677-GAO
LITIGATION




    DEFENDANT FANDUEL, INC.’S REPLY TO PLAINTIFFS’ “SUPPLEMENTAL
      BRIEFING REGARDING FANDUEL ARBITRATION FORMATION” AND
             ADDRESSING MEYER V. UBER TECHNOLOGIES, INC.

       Pursuant to the Court’s August 21, 2017 Order (ECF No. 357), Defendant FanDuel, Inc.

(“FanDuel”) submits this Reply to Plaintiffs’ “Supplemental Briefing Regarding FanDuel

Arbitration Formation” (“Plaintiffs’ Brief”) and to address the Second Circuit’s recent decision

in Meyer v. Uber Technologies, Inc., --- F.3d ----, 2017 WL 3526682 (2d Cir. Aug. 17, 2017).

                                          ARGUMENT
       In their original brief opposing FanDuel’s motion to compel arbitration, Plaintiffs relied

heavily on the district court’s decision in Meyer v. Kalanick, asserting that the case involved a

“sign-in [that] used much the same method and general layout as FanDuel’s here.” (See ECF

No. 332 at 8-12 (emphasis added) (citing Meyer v. Kalanick, 15 Civ. 9796, 2016 WL 4073071

(S.D.N.Y. July 29, 2016)).) Now, unable to avoid the Second Circuit’s reversal of that decision
(discussed further below), Plaintiffs seek to distinguish the two registration screens and contort

Meyer into a series of self-serving, hyper-granular “bright line rules” for constructive notice and

mutual assent that revolve around, among other things, the specific form of font for a hyperlink.

(See ECF No. 358 at 1.) Meyer does not establish any such “bright line rules” for the format and

presentation of hyperlinks or web-based registration processes more generally. And, the Second

Circuit certainly never said that hyperlinks are recognizable to the reasonable consumer only if




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the text is blue and underlined.1 (See ECF No. 358.) Far from it. Meyer expressly states that

“there are infinite ways to design a website or smartphone application,” and “the enforceability

of a web-based agreement is clearly a fact-intensive inquiry” focused on whether terms are

“reasonably conspicuous” and sufficient to place the “reasonably prudent” internet or

smartphone user on notice. Meyer, 2017 WL 3526682, at *6-7 (emphasis added) (citation

omitted).

       FanDuel’s registration process, including the presentation of its Terms of Use, is

substantially similar to the process reviewed in Meyer. Like Plaintiffs when they registered for

FanDuel, Meyer was presented with a screen that required him to provide certain information

and click a button marked “REGISTER.” Id. at *2. Below the input fields and registration

button was text that informed users that, “By creating an Uber account, you agree to the TERMS

OF SERVICE.” Id. at *6. Meyer clicked on a button that said “REGISTER.”2 Id. at *7. On
these facts, the Second Circuit held: “[T]he design of the screen and language used render the

notice provided reasonable as a matter of California law.”3 Id. at *8. FanDuel’s registration

process mirrors Uber’s:

            “[Uber’s] Payment Screen is uncluttered, with only fields for the user to enter his

             or her credit card details, buttons to register for a user account or to connect the

             user’s pre-existing PayPal account or Google Wallet to the Uber account, and the

             warning that ‘By creating an Uber account, you agree to the TERMS OF

   1
     In fact, Plaintiffs have cited no case mandating a specific format for hyperlinks. (See ECF
No. 336 at 3 n.5.)
   2
     Plaintiffs also take issue with the fact that FanDuel’s button says “Play Now,” rather than
“Register.” Again, these are distinctions without a difference. The point is that the reasonably
prudent internet or smartphone user who just entered their information, and are engaging in the
process of registering for an account and providing all the usual details associated with that
process, understands that they are “signing up” or “joining” and agreeing to terms by
affirmatively clicking the button.
   3
     Although Meyer looked to California law, it noted that New York’s law on mutual assent
was substantially similar. Meyer, 2017 WL 3526682, at *4.


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             SERVICE & PRIVACY POLICY.’” Id. (emphasis added). As demonstrated in

             Appendix A, FanDuel’s screen is equally “uncluttered,” displaying similar fields for

             the consumer to complete, a “Play Now” button the consumer must click in order to

             proceed further, and an advisory below the button informing the consumer that “By

             signing up, you confirm that you are at least 18 years of age and agree to the Terms

             of Use.” (See ECF No. 336-1; Decl. of Dylan Kidder ¶ 8 and Ex. A, ECF Nos. 318-1,

             318-2.)
            “[Uber’s] entire screen is visible at once, and the user does not need to scroll

             beyond what is immediately visible to find notice of the Terms of Service.” Meyer,

             2017 WL 3526685, at *8. FanDuel’s screen similarly does not require a user to scroll

             “below the fold” to find notice of the Terms of Use. (See Appx. A.)

            Uber’s notice to the consumer of its Terms of Service was “in small font,” but it

             was in “dark print [that] contrasts with the bright white background, and the

             hyperlinks are in blue and underlined.” Meyer, 2017 WL 3526685, at *8.

             FanDuel’s notice is similar. The text of the notice is prominent, displayed directly

             below the “Play Now” button, and the words “Terms of Use” are bolded and contrast

             with the lighter background—enough to draw the attention of the “reasonably

             prudent” internet user in 2015. (See Appx. A.)

       After a holistic review of the foregoing factors, the court held that “Meyer

unambiguously manifested his assent to Uber’s Terms of Service,” including its arbitration

clause, when he registered for Uber’s ride-sharing service. Meyer, 2017 WL 3526682, at *9.

The result here should be no different.

       Meyer is strong support for FanDuel’s motion to compel arbitration and severely

undermines Plaintiffs’ arguments against notice and mutual assent. The decision confirms that

the content and format of FanDuel’s registration process was sufficient to put Plaintiffs on notice

that they “would be subject to [FanDuel’s] contractual terms.” Id. at *8. The Court should grant

FanDuel’s motion to compel arbitration.

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Dated: August 30, 2017                    Respectfully submitted,

                                          /s/ David F. McDowell

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 30th day of August 2017, the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF system and will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),

pursuant to Local Rule 5.4(C).



                                                  /s/ David F. McDowell
                                                  David F. McDowell




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